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                           Tom Monroe
                           ATEL LEASING CORPORATION ///
                           PO Box 671597
                           DALLAS, TX 75267-1597


                           BNSF RAILWAY COMPANY
                           3115 Solutions Center
                           Chicago, IL 60677-3001


                           CANADIAN NATIONAL
                           Attn: Non-Freight Management
                           PO Box 71351
                           Chicago, IL 60694-1351


                           CANADIAN NATIONAL //
                           P.O. Box 71206
                           Chicago, IL 60694-1206


                           CHICAGO FREIGHT CAR LEASING CO //
                           PO Box 75129
                           Chicago, IL 60675


                           CONSOLIDATED LOGISTICS SOLUTIONS INC
                           13041 Binney Street
                           Omaha, NE 68164


                           INFINITY TRANSPORTATION 2016 1 LLC //
                           PO BOX 645510
                           Cincinnati, OH 45264-5510


                           MGH RAILCAR SERVICES LIMITED
                           8207 Fairways West Dr.
                           Regina, SK S4Y 0A1


                           MRXX CORP. ///
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                           Hampton, NH 03843-0189


                           NORFOLK SOUTHERN //
                           PO BOX 116944
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                       RAS DATA SERVICE
                       1510 PLAINFIELD RD
                       SUITE 3
                       DARIEN, IL 60561


                       THE ANDERSONS INC
                       PO BOX 84878
                       CHICAGO, IL 60689-8478


                       TRINITY LEASING CUSTOMER PAYMENT ACCOUNT
                       W 510131
                       PO BOX 7777
                       PHILADELPHIA, PA 19175-0131


                       TTX COMPANY AGENT FOR CSXT
                       Lockbox# 22984
                       22984 Network Place
                       Chicago, IL 60673-1229


                       TTX COMPANY AGENT FOR NS
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                       22984 NETWORK PLACE
                       CHICAGO, IL 60673-1229


                       TTX COMPANY AGENT FOR UP
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                       22984 Network Place
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                       VTG
                       3045 MOMENTUM PLACE
                       CHICAGO, IL 60689-5330


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